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              ATTACHMENT A- LOCATION INFORMATION


                              Property to Be Searched


1.     The cellular telephone assigned call number 406-479-4378, (the "Target

Cell Phone"), whose wireless service provider is VERIZON WIRELESS, 1

Verizon Way, Basking Ridge, New Jersey.


1.     Information about the location of the Target Cell Phone that is within the

possession, custody, or control of VERIZON WIRELESS, including information

about the location of the cellular telephone if it is subsequently assigned a different

call number and records concerning historical cell site information for the Target

Cell Phone.
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                                Particular Things to be Seized


           All information about the location of the Target Cell Phone described in

     Attachment A for a period of 30 days, during all times of day and night.

     "Information about the location of the Target Cell Phone" includes all available E-

     911 Phase II data, GPS data, latitude-longitude data, and other precise location

     information, as well as all data about which "cell towers" (i.e., antenna towers

     covering specific geographic areas) and "sectors" (i.e., faces of the towers)

     received a radio signal from the cellular telephone described in Attachment A.

           To the extent that the information described in the previous paragraph

     (hereinafter, "Location Information") is within the possession, custody, or control

     of VERIZON WIRELESS, VERIZON WIRELESS is required to disclose the

     Location Information to the government. In addition, VERIZON WIRELESS must

     furnish the government all information, facilities, and technical assistance

     necessary to accomplish the collection of the Location Information unobtrusively

     and with a minimum of interference with VERIZON WIRELESS' services,

     including by initiating a signal to determine the location of the Target Cell Phone

     on VERIZON WIRELESS' network or with such other reference points as may be

     reasonably available, and at such intervals and times directed by the government.

     The government shall compensate VERIZON WIRELESS for reasonable expenses

     incurred in furnishing such facilities or assistance.
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          To the extent that the Location Information includes tangible property, wire

    or electronic communications (as defined in 18 U.S.C. § 2510), or stored wire or

    electronic information, there is reasonable necessity for the seizure. See 18 U.S.C.

    § 3103a (b)(2).




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